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Attorney for Plaintiff
LEISA WHITTUM

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
 LEISA WHITTUM,                           :
                                            Civil Action No.: ______
                                          :
                     Plaintiff,           :
       v.                                 :
                                          :
 CHECK CITY PARTNERSHIP, LLC              :
                                            COMPLAINT
 d/b/a/ CHECK CITY,                       :
                                          :
                     Defendant.           :
                                          :

      For this Complaint, the Plaintiff, LEISA WHITTUM, by undersigned

counsel, states as follows:


                                  JURISDICTION

      1.

Consumer Protection Act, 47 U.S.C. § 227, e t se q.
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without consent, thereby violating the TCPA.

       2.

Revised Statutes Chapter 604A.010 e t se q

Plaintiff by the Defendant and its agents in their illegal efforts to collect a high-

interest loan as defined under this Chapter.

       3.    Plaintiff alleges as follows upon personal knowledge as to Plaintiff



                                                                               orneys.

       4.    Defendants have through their conduct in collecting a loan governed

by NRS 604A violated NRS 604A.415.

       5.    Defendant CHECK CITY PARTNERSHIP, LLC d/b/a/ CHECK

CITY

       6.    NRS 604A.415 incorporates the Fair Debt Collection Practices Act




       7.    Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Co

§ 1331. M im sv
              .A rrow F in.Se rv
                               .,L L C , 132 S.Ct. 740 (2012).

       8.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of
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the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
       9.      The Plaintiff, LEISA WHITTUM                      Ms. Whittum ), is

an adult individual residing in Las Vegas, Nevada.

       10.

defined by 47 U.S.C. § 153(39).

       11.     Defendant CHECK CITY PARTNERSHIP, LLC, d/b/a/ CHECK

CITY        Defendant     CHECK CITY ), is doing business in the State of Nevada

with a place of business located at 8505 S. Eastern Avenue, Las Vegas, Nevada

89123 and is licensed with the State of Nevada, Department of Business &

Industry Financial Institutions Division, as license No. CDTH10225.

       12.     Defendant is and at all times mentioned herein was, a corporation and



       13.     CHECK CITY at all times acted by and through one or more of the

Collectors.

                ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt


       14.

CHECK CITY PARTNERSHIP, LLC, d/b/a/ CHECK CITY
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      15.                          -

      16.    NRS 604A.415 provides that:

             If a customer defaults on a loan, the licensee may collect
             the debt owed to the licensee only in a professional, fair
             and lawful manner. When collecting such a debt, the
             licensee must act in accordance with and must not violate
             sections 803 to 812, inclusive, of the federal Fair Debt
             Collection Practices Act, as amended, 15 U.S.C. §§ 1692a
             to 1692j, inclusive, even if the licensee is not otherwise
             subject to the provisions of that Act.

      17.    As such, a violation of the Fair Debt Collection Practices Act

(FDCPA) a though j is also a violation of NRS 604A.415.

B. CHECK CITY Engages in Harassment and Abusive Tactics

                                       FACTS

      18.    On May 22, 2016, Plaintiff incurred a financial obligation (the

            CHECK CITY PARTNERSHIP, LLC, d/b/a/ CHECK CITY

       .

      19.    On May 26, 2016, Plaintiff made a payment to CHECK CITY and

was provided a new due date of June 10, 2016 to repay the loan.

      20.    The Debt had an interest rate of 430.17% per annum.

      21.    In or around June 29, 2016, Plaintiff issued a check to CHECK CITY

but it was not honored by her bank.

      22.    In late June 2016, struggling to meet her financial obligations,

Plaintiff found herself unable to repay all household bills as they came due.
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       23.     Accordingly, Plaintiff defaulted on the Debt.

       24.     Shortly thereafter, a CHECK CITY representative started calling

             cell phone on an almost daily basis demanding that the Debt be repaid.

       25.     At times, CHECK CITY contacted the Plaintiff several times a day.

       26.     On August 1, 2016 at 9:36am, Plaintiff called CHECK CITY and told

CHECK CITY to stop contacting the Plaintiff.

       27.     On or about August 10, 2016, Plaintiff sent a letter to CHECK CITY

demanding CHECK CITY to cease contacting Plaintiff and informing CHECK

CITY that Plaintiff was unable to pay the Debt.

       28.     On or about September 12, 2016, Plaintiff sent a second letter to

CHECK CITY telling CHECK CITY to cease contacting Plaintiff.

       29.     Further, on or about December 20, 2016, Plaintiff sent a third letter to

CHECK CITY demanding CHECK CITY to cease contacting Plaintiff.

       30.     However, CHECK CITY continued calling, texting, emailing, and

sending letters to the Plaintiff.

       31.     Specifically, CHECK CITY called the Plaintiff on at least the

following dates and times attempting to collect the Debt:

                            August 3, 2016, at 6:31pm
                            August 5, 2016, at 6:15pm
                            August 9, 2016, at 6:56pm
                            August 16, 2016, at 5:31pm
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                 August 18, 2016, at 8:18pm
                 August 31, 2016, at 7:44pm
                 September 7, 2016, at 4:49pm
                 September 12, 2016, at 4:23pm
                 September 20, 2016, at 5:37pm
                 September 27, 2016, at 5:05pm
                 September 30, 2016, at 1:22pm
                 October 4, 2016, at 8:25pm
                 October 10, 2016, at 6:27pm
                 October 12, 2016, at 6:23pm
                 October 22, 2016, at 6:27pm
                 October 25, 2016, at 2:03pm
                 October 26, 2016, at 9:33pm
                 October 28, 2016, at 5:27pm
                 October 31, 2016, at 8:26pm
                 November 3, 2016, at 10:40am
                 November 8, 2016, at 8:37pm
                 November 14, 2016, at 6:41pm
                 November 18, 2016, at 8:18pm
                 November 22, 2016, at 11:46am
                 November 25, 2016, at 2:45pm
                 November 29, 2016, at 6:58pm
                 December 1, 2016 at 11:30am
                 December 2, 2016 at 12:56pm
                 December 5, 2016 at 4:28pm
                 December 7, 2016 at 11:47am
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                         December 8, 2016 at 5:05pm
                         December 14, 2016 at 4:36pm
                         January 31, 2017 at 4:14pm
      32.   CHECK CITY also sent text messages to the Plaintiff on at least the

following dates and times attempting to collect the Debt:

                      August 10, 2016 at 4:59pm
                      August 24, 2016 at 11:37am
                      August 24, 2016 at 12:43pm
                      September 7, 2016 at 1:02pm
                      September 7, 2016 at 4:49pm
      33.   Additionally, CHECK CITY sent emails to the Plaintiff on at least the

following dates and times attempting to collect the Debt:

                      December 28, 2016 at 4:18pm
                      January 19, 2017 at 5:45pm
                      January 23, 2017 at 5:51pm
                      January 26, 2017 at 5:37pm
      34.   Further, CHECK CITY also sent letters to the Plaintiff on at least the

following dates and times attempting to collect the Debt:

                      December 18, 2016
                      February 7, 2017
      35.                                                     demands that

CHECK CITY cease contacting Plaintiff despite her numerous written and verbal

demands to cease collection communications.
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      36.    Damages have resulted as does this suit.

C. Plaintiff Suffered Actual Damages

      37.    The Plaintiff has suffered and continues to suffer actual damages as a

result of CHECK CITY

      38.    Further, Plaintiff alleges that Defendants actions at all times herein



      39.    As a direct                                                 calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

                                                                                  and

illegal collection efforts. Plaintiff has also lost the use of personal and family time

while enduring these frustrations.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      40.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      41.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      42.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system



             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and
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                (B)     to dial such numbers.

        43.     Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

        44.     According to findings by the Federal Communications Commission



calls are a greater nuisance and invasion of privacy than live solicitation calls. The

FCC also recognized that wireless customers are charged for incoming calls.1

        45.     On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,



                                              2



        46.     On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC3 stated that



1
 Ru le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e rP rote c tion A c t of1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the M atte rofRu le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e rP rote c tion A c t
of1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the M atte rofRu le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e r
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                                                     Id . at ¶ 30.

       47.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id . at ¶ 47.

       48.    Nothing in the language of the TCPA or its legislative history



right to revoke consent. Id . at ¶ 58.

       49.    Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id . at ¶ 61.

       50.    Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id . at ¶ 64.

             ALLEGATIONS APPLICABLE TO ALL TCPA COUNTS
       51.    Since June 2016, the Plaintiff received numerous calls and texts from

the Defendant from the following phone number: (702) 216-2111; (702) 216-2100;

and 88588.

       52.    CHECK CITY called and text the Plaintiff numerous times as set forth

above.




P rote c tion A c t of1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      53.      Upon information and belief, Defendant employs an automatic

                                                                          in 47 U.S.C.

§ 227(a)(1).

      54.

telephone                     7387

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A). Specifically, there were slight

pauses before each call connected.

      55.



allows cellular phone subscribers to use their cellular telephone to send and receive

short text messages, usually limited to 160 characters.

      56.

through the use of the telephone number assigned to the device. When an SMS

message call is successfully made, the recipi

that a call is being received. As cellular telephones are inherently mobile and are



SMS messages, may be instantly received by the called party virtually anywhere in

the world.
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        57.   On or before August 1, 2016, Plaintiff instructed Defendant or its

agent(s) not to call or text                         ever again thereby revoking

consent, if any ever existed, to be contacted by Defendant via an ATDS.

        58.   However, Defendant placed calls and texts

telephone after the Plaintiff revoked consent using an ATDS in violation of the

TCPA.

        59.

numbers to be called, using a random or sequential number generator.

        60.   The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

        61.                     and texts              cellular telephone were not for



        62.

the burden is on Defendant to demonstrate that it had prior express consent to call or

text

        63.   The Plaintiff suffered actual harm and loss, since the unwanted calls and

texts

recharge the phone is a tangible harm. While small, this cost is a real one, and the
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cumulative effect can be consequential, just as is true for exposure to X-rays resulting



      64.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls and texts to the



protects consumers from this precise behavior.

      65.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right toPriv
                                  ac y, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      66.    Plaintiff was also personally affected, since the Plaintiff felt that the

                                 vaded when the Defendant placed calls and texts to the

                                                     .

      67.

violations caused Plaintiff to suffer an invasion of privacy.

                                        COUNT I

                             Violations of the FDCPA
                     (as incorporated through NRS 604A.415)

      68.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      69.    Any violation of 15 U.S.C. §§ 1692a through j constitutes a violation

of NRS 604A.415.
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      70.     The Defendant s conduct violated 15 U.S.C. § 1692c(c) in that

Defendant engaged in communication with the Plaintiff after written notification

that the Plaintiff refuses to pay the Debt, or that the Plaintiff requested the

Defendant to cease communication with the Plaintiff.

      71.     The               conduct violated 15 U.S.C. § 1692d(5) in that



repeated conversations in connection with the collection of a debt.

      72.     The               conduct violated 15 U.S.C. § 1692f in that

Defendants used unfair and unconscionable means to collect a debt and attempted

to humiliate and belittle Plaintiff.

      73.     The foregoing acts and omissions of the Defendant constitute

numerous and multiple violations of the FDCPA (and therefore also constitute

violations of NRS 604A.415), including every one of the above-cited provisions.

      74.     The Plaintiff is entitled to damages as a result of

violations.

      75.     The Plaintiff has been required to retain the undersigned as counsel to

protect t
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                                     COUNT II

                           Negligent Violations of the
                      Telephone Consumer Protection Act,
                            (47 U.S.C. § 227, e t se q.)

      76.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      77.    Defendant negligently placed multiple automated calls and texts to

                                                                           consent.

      78.    Each of the aforementioned calls and texts by Defendant constitutes a

negligent violation of the TCPA.

      79.

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      80.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                     COUNT III

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, e t se q.)

      81.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      82.    Defendant knowingly and/or willfully placed multiple automated calls
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and texts to cellular numbers

consent.

      83.      Each of the aforementioned calls and texts by Defendant constitutes a

knowing and/or willful violation of the TCPA.

      84.

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call and text in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

U.S.C. § 227(b)(3)(C).

      85.      Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants awarding the Plaintiff:

      1. for consequential damages pursuant to NRS 604A.930 against each and

            every Defendant for Plaintiff;

      2. for statutory damages pursuant to NRS 604A.930 against each and every

            Defendant for Plaintiff;

      3. for an award of actual damages pursuant to NRS 604A.930 against each and

            every Defendant for Plaintiff;
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      4. for an award of punitive damages pursuant to NRS 604A.930 against each

           and every Defendant for Plaintiff;

      5. for an award of

           NRS 604A.930 against each and every Defendant for Plaintiff;

      6.                               dant from collecting thereon, and compel the

           Defendant to turnover any principal, interest or other charges or fees

           collected on the Debt pursuant to NRS 604A.900(1).

      7. Injunctive relief prohibiting such violations of the TCPA by Defendant in

           the future;

      8. Statutory damages of $500.00 for each and every call in violation of the

           TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

      9. Treble damages of up to $1,500.00 for each and every call in violation of

           the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

      10.any other legal or equitable relief that the court deems appropriate.



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           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: May 1, 2017

                                  Respectfully submitted,

                                  By /s/ David H. Krieger, Esq.

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